74 F.3d 1232NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Roosevelt ISAAC, Plaintiff--Appellant,v.P. Douglas TAYLOR;  Nathaniel Watson;  Joe Black,Defendants--Appellees.
    No. 95-7382.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  January 11, 1996Decided:  January 24, 1996
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Dennis W. Shedd, District Judge.  (CA-94-2003-3-19-BC)
      Robert Isaac, Appellant Pro Se.  Joseph Crouch Coleman, Columbia, South Carolina, for Appellees.
      D.S.C.
      AFFIRMED.
      Before RUSSELL, HALL and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Isaac v. Taylor, No. CA-94-2003-3-19-BC (D.S.C. Aug. 15, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    